         Case 7:08-cv-00204 Document 24 Filed on 12/07/18 in TXSD Page 1 of 3



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

    UNITED STATES OF AMERICA                                §
                                                            §
    v.                                                      §            CASE NO.          7:08-CV-204
                                                            §            Tract No.         RGV-RGC-2008
    0.77 ACRES OF LAND, MORE OR LESS,                       §
    SITUATED IN STARR COUNTY, TEXAS;                        §
    AND RUBEN SALINAS, JR., ET AL.,                         §


                   UNITED STATES’ RESPONSE TO THE COURT’S ORDER
                            REQUESTING STATUS UPDATE

          COMES NOW the United States of America (“United States”), and files this response to

the District Court’s October 17, 2018 Order to inform the Court on the status of the case:

                                     PROCEDURAL BACKGROUND

          On June 30, 2008, the United States filed Civil No. 7:08-cv-204, condemning a fee simple

interest in 0.77 acres, more or less, identified as Tract RGV-RGC-2008. On July 7, 2008, the

United States deposited $10,000.00 into the Court’s registry as its estimated just compensation for

Tract RGV-RGC-2008. 1 [Doc. No. 4]. At the time of taking, the United States believed that Ruben

and Norabel Salinas were the owners of Tract RGV-RGV-2008. [Doc. No. 2-2, at 14].

          On August 14, 2008, the United States and Ruben and Norabel Salinas filed their

Agreement Concerning Just Compensation and Motion for Disbursement. [Doc. No. 5; Doc. No.

6]. On August 14, 2008, the Court issued an Agreed Order to Disburse Funds in Registry,

disbursing the sum of $10,000, plus accrued interest, to Ruben and Norabel Salinas. [Doc. No. 7].




1
          See 40 U.S.C. § 3114(b) (“On filing the declaration of taking and depositing in the court, to the use of the
persons entitled to the compensation, the amount of the estimated compensation stated in the declaration—(1) title to
the estate or interest specified in the declaration vests in the Government; (2) the land is condemned and taken for the
use of the Government; and (3) the right to just compensation for the land vests in the persons entitled to the
compensation.”).


                                                      Page 1 of 3
      Case 7:08-cv-00204 Document 24 Filed on 12/07/18 in TXSD Page 2 of 3



       The United States filed status reports in this case between 2010 and 2012. On July 21,

2010, the United States filed a status report, stating that the United States and Ruben and Norabel

Salinas had settled the case. [Doc. No. 13]. However, the case remained open pending an Amended

Declaration of Taking to clarify the description of the property taken. [Id.]. On October 15, 2012,

the United States and Ruben and Norabel Salinas filed a joint status report, explaining that the

United States had not yet finalized its title commitment, land survey and fence alignment in order

to file the ADT. [Doc. No. 20].

                                  ANTICIPATED NEXT STEPS

       The United States plans to take the following steps to resolve this case:

       (1)     File a motion to consolidate this case (Civil No. 7:08-cv-204) with Civil No. 7:08-

cv-221 due to overlapping boundary issues. Specifically, finalized survey results appear to indicate

that a portion of Tract RGV-RGC-2008 (in Civil No. 7:08-cv-204) is actually owned by the

adjacent property owners Joel Salinas, not Ruben and Norabel Salinas.

       (2)     File a consolidated Amended Declaration of Taking (“ADT”) and Amended

Complaint in Condemnation (“Amended Complaint”) in order to (a) clarify the description and

plat of the land acquired based on finalized surveys and title examination results; (b) clarify that

the land taken did not include water distribution and drainage systems; and (c) add as defendants

any new parties identified as having an interest.

       (3)     The United States advises the Court that, in FY 2019, it expects to acquire

additional property from this landowner for the border fence project.




                                             Page 2 of 3
     Case 7:08-cv-00204 Document 24 Filed on 12/07/18 in TXSD Page 3 of 3



                                                    Respectfully submitted,

                                                    RYAN K. PATRICK
                                                    United States Attorney
                                                    Southern District of Texas

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                               CERTIFICATE OF SERVICE

       I certify that on December 7, 2018, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, and that our office will send a copy of this document on

December 7 and 10, 2018 via regular mail to all parties who have made an appearance and/or for

whom the United States has contact information.

                                                    s/ Christopher D. Pineda
                                                    CHRISTOPHER D. PINEDA
                                                    Assistant United States Attorney




                                           Page 3 of 3
